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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Magdalena Rochez, et al.,                                                      1/12/2021

                                 Plaintiffs,
                                                                1:20-cv-03066 (SDA)
                     -against-
                                                                ORDER
 BJ'S Wholesale Club, Inc.,

                                 Defendant.


STEWART D. AARON, UNITED STATES MAGISTRATE JUDGE:

       Pursuant to the Court’s Order, dated November 4, 2020 (ECF No. 26), the parties were to

file a joint letter regarding the status of discovery on January 6, 2021. In view of the Court’s recent

adjournment of all discovery deadlines (see Order, ECF No. 30), that joint status letter instead

shall be filed on February 17, 2021.

SO ORDERED.

DATED:         New York, New York
               January 12, 2021

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                                                       STEWART D. AARON
                                                       United States Magistrate Judge
